





THIS OPINION HAS NO PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS&nbsp;
 PRECEDENT IN ANY PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Supreme Court

  
    
      
Timothy Downs, Petitioner,
v.
State of South Carolina, Respondent.
      
    
  


ON WRIT OF CERTIORARI

Appeal From Greenville County
&nbsp;John C. Few, Circuit Court Judge
&nbsp;J. Michael Baxley, Post Conviction Judge

Memorandum Opinion No. 2006-MO-008
&nbsp;&nbsp; Submitted February 14, 2006  Filed February 21, 2006


APPEAL DISMISSED


  
    
      
Assistant Appellate Defender Aileen P. Clare, Office of Appellate Defense, of Columbia, for Petitioner.
Assistant Attorney General Christopher L. Newton, Office of the Attorney General, of Columbia, for Respondent.
      
    
  


PER CURIAM:&nbsp; Petitioner seeks a writ of certiorari from the dismissal of his application for post-conviction relief (PCR).
Because there is sufficient evidence to support the PCR judges finding that petitioner did not knowingly and intelligently waive his right to a direct appeal, we grant certiorari and proceed with a review of the direct appeal issue pursuant to Davis v. State, 288 S.C. 290, 342 S.E.2d 60 (1986).&nbsp; 
Counsel for petitioner has filed a brief pursuant to Anders v. California, 386 U.S. 738 (1967) and a petition to be relieved as counsel.&nbsp; Petitioner has not filed a pro se response.&nbsp; After a thorough review of the record pursuant to Anders, supra, we dismiss the appeal and grant the petition to be relieved as counsel.
DISMISSED.
 TOAL, C.J., MOORE, BURNETT and PLEICONES, JJ., concur. WALLER, J., not participating.



